                   Case 4:23-mj-30418-CI ECF No. 1, PageID.1
                                               AUSA: Nancy AbrahamFiled 10/17/23 Telephone:
                                                                                   Page 1 810.766.5177
                                                                                              of 7
                                                        Special Agent : Dustin Hurt                        Telephone: 810.219.6277
AO91(Rev.08/09)CriminalComplaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                  Eastern District of Michigan
 United States of America,

             Plaintiff,
 v.
HAMZEH SAMARAH                                                                   Case: 4:23-mj-30418
                                                                                 Judge: Ivy, Curtis
                                                                                 Filed: 10-17-2023



                    Defendant(s).

                                                   CRIMINAL COMPLAINT

           I, the complainant in this case, state that the following is true to the best of my knowledge and belief:

          On or about the date(s) of _____________________________________,
                                      October 5, 2023 and October 10, 2023       in the county of ___________________________
                                                                                                  Genesee
 in the __________________________
        Eastern                          District of _______________________,
                                                     Michigan                 the defendant(s) violated:

                   Code Section                                                      Offense Description
21 U.S.C. § 841(a)(1) and (b)(1)(C)                                     Knowingly distributed a controlled substance,
21 U.S.C. § 841(a)(1) and (b)(1)(B)(viii)                               Knowingly distributed a controlled substance,
18 U.S.C. § 922(g)(1), and                                              Felon in possession of a firearm, and
18 U.S.C. § 924(c)                                                      Possession of a firearm in furtherance of a drug trafficking crime.



          This criminal complaint is based on these facts:
Please see the attached affidavit.




  ✔        Continued on the attached sheet.

                                                                                               Complainant’s signature

                                                                                Dustin Hurt, Special Agent - ATF&E
                                                                                              Printed name and title

 Sworn to before me and signed in my presence.


 Date: __________________________
        October 17, 2023
                                                                                                  Judge’s signature

 City and state: _____________________________
                 Flint, Michigan                                              Curtis Ivy, Jr., United States Magistrate Judge
                                                                                                   Printed name and title
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                   Affidavit in Support of Criminal Complaint
                        United States v. Hamzeh Samarah



      1.     I have been employed as a Special Agent with the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (ATF) since October of 2018. I am currently

assigned to the Detroit Field Division, Flint Field Office. Before working for the

ATF, I was employed by the Michigan Department of State Police (MSP) for

approximately seven years. Before working for MSP, I was a local police officer for

the Grand Ledge Police Department for approximately three years. I held numerous

positions with the MSP, including Detective Sergeant in the Polygraph Unit and

Task Force Officer with the FBI. During my employment with ATF and MSP, I have

conducted or participated in numerous criminal investigations focused on firearms,

armed drug trafficking, and criminal street gangs, and other violations of federal law.

      2.     I make this affidavit from personal knowledge based on my

participation in this investigation, my review of reports and other materials prepared

by those who have personal knowledge of the events and circumstances described

herein, and information gained through my training and experience. The information

outlined below is provided for the limited purpose of establishing probable cause

and does not contain all details or all facts of which I am aware relating to this

investigation.

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      3.     On or about October 5, 2023 at 932 E. Seventh Street, Flint, Michigan,

in the Eastern District of Michigan, ATF Special Agent Daniel Bowling, acting in

an undercover capacity, purchased 49 grams of methamphetamine from Hamzeh

Samarah for $660 of pre-recorded agent cashier funds. SA Bowling field tested the

methamphetamine which tested positive for the presence of a controlled substance.

      4.     On or about October 10, 2023, SA Bowling again purchased

methamphetamine from Samarah. This transaction took place inside Samarah’s

apartment at 932 E. Seventh Street, Flint, Michigan, in the Eastern District of

Michigan. Samarah took SA Bowling into a back bedroom in the apartment where

he weighed, packaged and handed SA Bowling the methamphetamine. Inside the

room were two firearms: a silver revolver with a brown handle located on the

nightstand with the methamphetamine, and a black semi-automatic rifle with a bipod

and a red dot scope was leaning against the wall next to the bed. The rifle was within

the immediate reach of Samarah during the controlled buy.




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      5.    SA Bowling worn a concealed body camera during the transaction.

Below is a still photo from the video of what was observed by SA Bowling upon

entering the bedroom.




      6.    While in the bedroom, Samarah retrieved the revolver from the

nightstand, unloaded the firearm and handed it to SA Bowling. Samarah identified

the firearm as a Smith and Wesson .44 magnum. Samarah then identified the rifle

as a “honey badger” before handing it to SA Bowling. SA Bowling noted that both

firearms were loaded.

      7.    Below are images from the body camera of Samarah handling both

firearms.




      8.    Samarah then retrieved a tan container from the bed and opened it.
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Inside the container was a plastic bag of a crystal-like substance identified by

Samarah and the as methamphetamine. Samarah stated that the bag contained

approximately four ounces of methamphetamine. Samarah weighed and bagged up

two ounces of methamphetamine and handed it to SA Bowling. SA Bowling paid

Samarah $640 in ATF pre-recorded funds for the methamphetamine. I field tested

the methamphetamine which tested positive for the presence of methamphetamine.

I weighed the substance and it weighed 58 grams including the packaging.

      9.    Below are images from the body camera video of Samarah weighing,

packaging, and distributing the methamphetamine.




      10.   I queried Samarah’s Computerized Criminal History (CCH) and found

that he is a convicted felon. Samarah was convicted in Genesee County Circuit

Court in 2018 of Carrying a Concealed Weapon (CCW). I know based on my

training and experience that CCW is a crime punishable by a term of imprisonment

exceeding one year. Samarah also has a Mental Order out of Genesee County in

LEIN dated February 26, 2020.      An active mental order would also prohibit
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Samarah from possessing a firearm.

      11.   I am recognized by ATF as having expertise in the interstate travel and

manufacture of firearms. The Smith & Wesson .44 Magnum revolver bearing an

unknown serial number and the Honey Badger AR-15 style rifle bearing an unknown

serial number were manufactured outside of the state of Michigan and are firearms

as defined in Chapter 44, Title 18, United States Code.

      12.   Based on the foregoing, I have probable cause to believe that Hamzeh

Samarah committed the following federal crimes:

      • On October 5, 2023, in the Eastern District of Michigan, Hamzeh Samarah,
        knowingly distributed a controlled substance, that is a mixture or substance
        containing a detectable amount of methamphetamine, in violation of 21
        U.S.C. § 841(a)(1) and (b)(1)(C).

      • On October 10, 2023, in the Eastern District of Michigan, Hamzeh
        Samarah, knowingly distributed a controlled substance, that is a mixture
        or substance in excess of 50 grams, containing a detectable amount of
        methamphetamine, in violation of 21 U.S.C. § 841(a)(1) and
        (b)(1)(B)(viii) .

      • On October 10, 2023, in the Eastern District of Michigan, Hamzeh
        Samarah, having been previously convicted of a crime punishable by a
        term of imprisonment exceeding one year, knowingly possessed, in and
        affecting commerce, multiple firearms, in violation of 18 U.S.C.
        § 922(g)(1).

      • On October 10, 2023, in the Eastern District of Michigan, Hamzeh
        Samarah knowingly possessed firearms, during and in relation to a drug
        trafficking offense in violation of 18 U.S.C. § 924(c).
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                                     ___________________________________
                                     DUSTIN HURT, Affiant
                                     Special Agent
                                     Bureau of Alcohol, Tobacco, Firearms & Explosives


Sworn to before me and signed in my presence and/or by reliable electronic means

on _________________________.
   October 17, 2023



CURTIS IVY, JR.
United States Magistrate Judge




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